2A
 101-7-TDR
 /2010
 /2009
 2ems Inc.
                                                UNITED STATES BANKRUPTCY COURT
                                                      DISTRICT OF OREGON


              In re:                                            §
                                                                §
              BEARD, JAMES K                                    §      Case No. 12-61206-TMR7
              BEARD, SUNSHINE M.                                §
                                                                §
                                  Debtor(s)                     §

                       AMENDED CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                          REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                          ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      Candace Amborn, Trustee, chapter 7 trustee, submits this Final Account, Certification
              that the Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 918,640.00                              Assets Exempt: 382,302.50
              (Without deducting any secured claims)

              Total Distributions to Claimants: 17,929.35               Claims Discharged
                                                                        Without Payment: 1,979,740.32

              Total Expenses of Administration: 3,416.10




                      3) Total gross receipts of $ 21,345.45 (see Exhibit 1), minus funds paid to the debtor and
              third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 21,345.45 from the liquidation of
              the property of the estate, which was distributed as follows:




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                                           Case 12-61206-tmr7       Doc 119   Filed 09/08/15
                                                  CLAIMS              CLAIMS              CLAIMS                 CLAIMS
                                                SCHEDULED            ASSERTED            ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                 $ 2,155,038.00       $ 340,000.00          $ 340,000.00                   $ 0.00

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                          NA              3,416.10            3,416.10                 3,416.10

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                  NA                  NA                   NA                       NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                           104,000.00                  0.00          -18,238.49                  -309.14

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                            2,398,041.17         547,812.99            547,812.99                18,238.49

TOTAL DISBURSEMENTS                              $ 4,657,079.17       $ 891,229.09          $ 872,990.60           $ 21,345.45


                  4) This case was originally filed under chapter 7 on 03/27/2012 . The case was pending
          for 41 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 08/18/2015                        By:/s/Candace Amborn, Trustee
                                                                             Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                     EXHIBITS TO
                                                   FINAL ACCOUNT


          EXHIBIT 1 – GROSS RECEIPTS

                         DESCRIPTION                           UNIFORM                $ AMOUNT
                                                              TRAN. CODE1             RECEIVED

CASH NOTE: AMOUNTS STATED
REPRESENT VALUES AS OF                                         1129-000                     982.00

UMPQUA BANK CHECKING ACCOUNT
BRANCH: ROSEBURG, OR                                           1129-000                    2,020.75

UMPQUA BANK CHECKING ACCOUNT
BRANCH: ROSEBUERG, O                                           1129-000                    1,301.00

HOUSEHOLD GOODS                                                1129-000                    6,400.00

BOOKS, PICTURES AND COLLECTIONS
INCLUDES 20 BOTTLE                                             1129-000                     240.00

MEN'S JEWELRY 2 WATCHES, BRACELET,
RING, CUFFLINKS                                                1129-000                     560.00

WOMAN'S JEWELRY WEDDING AND
ENGAGEMENT RINGS, NECK                                         1129-000                    1,760.00

FIREARMS AND SPORTS EQUIPMENT
SEVEN RIFLES AND SEV                                           1129-000                    2,180.00

2010 MERCEDES GL320 VALUE STATED IN
TRADE-IN VALUE                                                 1129-000                    2,195.20

 2005 KAWASAKI 250 MOTORBIKE                                   1129-000                     500.00

1996 17' BAYLINER BOAT                                         1129-000                    1,800.00




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                            DESCRIPTION                                    UNIFORM                                     $ AMOUNT
                                                                          TRAN. CODE1                                  RECEIVED

UNPAID WAGES APPROXIMATE AMOUNT
$10,000 AFTER MAND                                                           1129-000                                       1,406.50

TOTAL GROSS RECEIPTS                                                                                                      $ 21,345.45
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


             EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                    PAYEE                                       DESCRIPTION                          UNIFORM           $ AMOUNT
                                                                                                    TRAN. CODE            PAID

NA                                                                                                      NA                        NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                   $ 0.00
THIRD PARTIES


             EXHIBIT 3 – SECURED CLAIMS

                                                  UNIFORM       CLAIMS
                                                                                    CLAIMS               CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.     SCHEDULED                                                 CLAIMS PAID
                                                                                   ASSERTED             ALLOWED
                                                   CODE     (from Form 6D)

              Bank of America PO Box
              515503 Los Angeles, CA
              90051-6803                                          250,000.00                   NA                 NA              0.00


              Bank of America PO Box
              515503 Los Angeles, CA
              90051-6803                                            21,120.00                  NA                 NA              0.00


              Bank of America PO Box
              515503 Los Angeles, CA
              90051-6803                                          146,000.00                   NA                 NA              0.00


              GMAC Mortgage PO Box 780
              Waterloo, IA 50704-0780                             172,600.00                   NA                 NA              0.00




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                                         Case 12-61206-tmr7          Doc 119       Filed 09/08/15
                                                UNIFORM       CLAIMS
                                                                              CLAIMS           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.     SCHEDULED                                         CLAIMS PAID
                                                                             ASSERTED         ALLOWED
                                                 CODE     (from Form 6D)

            GMAC PO Box 4622
            Waterloo IA 50404                                         0.00              NA              NA            0.00


            GMAC PO Box 79135
            Phoenix, AZ 85062                                   668,900.00              NA              NA            0.00


            GMAC PO Box 79135
            Phoenix, AZ 85062                                   250,900.00              NA              NA            0.00


            GMAC PO Box 79135
            Phoenix, AZ 85062                                   180,000.00              NA              NA            0.00


            GMAC PO Box 79135
            Phoenix, AZ 85062                                   153,000.00              NA              NA            0.00


            Jackson County Tax Assessor
            PO Box 1569 Medford, OR
            97501                                                     0.00              NA              NA            0.00


            Key Bank PO Box 23698
            Tigard OR 97281                                           0.00              NA              NA            0.00


            Key Bank PO Box 94968
            Cleveland, OH 44101-4968                            231,000.00              NA              NA            0.00


            Northwest Community CU
            3701 W 11th St Eugene, OR
            97402                                                46,459.00              NA              NA            0.00


            Northwest Community CU
            3701 W 11th St Eugene, OR
            97402                                                35,059.00              NA              NA            0.00




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                                                UNIFORM        CLAIMS
                                                                                CLAIMS            CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.      SCHEDULED                                            CLAIMS PAID
                                                                               ASSERTED          ALLOWED
                                                 CODE      (from Form 6D)

            Northwest Trustee Services,
            Inc. PO Box 997 Bellevue,
            WA 98009-0997                                              0.00               NA               NA              0.00


000004A     BANK OF THE CASCADES 4110-000                               NA         125,000.00      125,000.00              0.00


000006A     BANK OF THE CASCADES 4110-000                               NA         215,000.00      215,000.00              0.00

TOTAL SECURED CLAIMS                                         $ 2,155,038.00      $ 340,000.00     $ 340,000.00           $ 0.00


            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                            CLAIMS             CLAIMS            CLAIMS
              PAYEE                       TRAN.                                                                  CLAIMS PAID
                                                          SCHEDULED           ASSERTED          ALLOWED
                                          CODE

AMBORN, CANDACE                           2100-000                    NA           2,884.55          2,884.55          2,884.55


AMBORN, CANDACE                           2200-000                    NA              14.50             14.50            14.50


INTERNATIONAL SURETIES, LTD               2300-000                    NA              44.72             44.72            44.72


ASSOCIATED BANK                           2600-000                    NA             472.33            472.33           472.33

TOTAL CHAPTER 7 ADMIN. FEES                                         $ NA          $ 3,416.10       $ 3,416.10        $ 3,416.10
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                            CLAIMS             CLAIMS            CLAIMS
              PAYEE                       TRAN.                                                                  CLAIMS PAID
                                                          SCHEDULED           ASSERTED          ALLOWED
                                          CODE

NA                                              NA                    NA                 NA                NA              NA




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                                       Case 12-61206-tmr7          Doc 119      Filed 09/08/15
                                         UNIFORM
                                                             CLAIMS             CLAIMS              CLAIMS
              PAYEE                       TRAN.                                                                     CLAIMS PAID
                                                           SCHEDULED           ASSERTED            ALLOWED
                                          CODE

TOTAL PRIOR CHAPTER ADMIN.                                          $ NA                 $ NA              $ NA              $ NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                               CLAIMS             CLAIMS
                                                UNIFORM
                                                             SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                              CLAIMS PAID
                                                              (from Form       (from Proofs of     ALLOWED
                                                 CODE
                                                                  6E)              Claim)

            INTERNAL REVENUE
000009      SERVICE                             5800-000           75,000.00                0.00             0.00        17,929.35


000003A     ODR BKCY                            5800-000           29,000.00                0.00             0.00             0.00


            TREASURY, UNITED
            STATES                              5800-000                 NA                 0.00      -18,238.49        -18,238.49

TOTAL PRIORITY UNSECURED                                        $ 104,000.00              $ 0.00     $ -18,238.49        $ -309.14
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                               CLAIMS             CLAIMS
                                                UNIFORM
                                                             SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                              CLAIMS PAID
                                                              (from Form       (from Proofs of     ALLOWED
                                                 CODE
                                                                  6F)              Claim)

            Acquired Capital I, LP 4100
            Greenbriar Dr., Ste 120
            Stafford, TX 77477                                          0.00                 NA              NA               0.00


            Aurora Loan Services 601 5th
            Ave. Scottsbluff, NE 69361                           450,000.00                  NA              NA               0.00




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                                       Case 12-61206-tmr7           Doc 119      Filed 09/08/15
                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)             Claim)

            Bank of America 450
            American St Simi Valley, CA
            93065                                             193,200.00                 NA             NA            0.00


            Bank of America PO Box
            515503 Los Angeles, CA
            90051-6803                                              0.00                 NA             NA            0.00


            Chach LLC C/o Square Two
            Financial 4340 S. Monaco,
            Second Floor Denver, CO
            80237                                                   0.00                 NA             NA            0.00


            Charter Cable 926 S. Grape
            St. Medford, OR 97501                                   0.00                 NA             NA            0.00


            Chase PO Box 15298
            Wilmington DE 19850                                12,505.00                 NA             NA            0.00


            Chase PO Box 94014 Palatine,
            IL 60094-4019                                           0.00                 NA             NA            0.00


            ELAN Financial 777 E
            Wisconsin Ave Milwaukee
            WI 53202                                           27,000.00                 NA             NA            0.00


            ELAN Financial PO Box 108
            St. Louis, MO 63166-9801                                0.00                 NA             NA            0.00


            FIA PO Box 301200 Los
            Angeles, CA 90030-1200                             47,000.00                 NA             NA            0.00




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                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)             Claim)

            GE Capital Retail Bank Client
            Services, Inc. 3451 Harry S
            Truman Blvd St. Charles, MO
            63301-4047                                              0.00                 NA             NA            0.00


            GEMB/GE Money PO Box
            103065 Roswell GA 30076                             9,193.00                 NA             NA            0.00


            GMAC Mortgage PO Box
            5097 San Ramon, CA 94583                                0.00                 NA             NA            0.00


            GMAC PO Box 79135
            Phoenix, AZ 85062                                 129,921.00                 NA             NA            0.00


            Helene Duidone 3087 Tanitian
            Ave Medford, OR 97504                                   0.00                 NA             NA            0.00


            ITEX 3326 16th Ave., Suite
            100 Bellevue, WA 98008-
            6418                                               19,167.61                 NA             NA            0.00


            Key Bank PO Box 94932
            Cleveland, OH 44101-4932                                0.00                 NA             NA            0.00


            Len R. Merryman 468 Sterling
            Pt Ct Medford, OR 97504                           205,000.00                 NA             NA            0.00


            Loan Care Acct Services PO
            Box 8097 Virginia Beach, VA
            23450-8097                                              0.00                 NA             NA            0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6F)             Claim)

            Matthew Sutton 205 Crater
            Lake Ave Medford, OR 97504                               0.00                 NA             NA            0.00


            Michael E. Knapp, PC 2355
            State St Salem, OR 97301                                 0.00                 NA             NA            0.00


            Rogue Valley Medical Center
            2825 East Barnett Road
            Medford, Oregon 97504                                  108.56                 NA             NA            0.00


            Southern Oregon Credit
            Service, Inc. PO Box 4070
            201 W 6th Medford, OR
            97501                                                    0.00                 NA             NA            0.00


            Sprint 6391 Sprint Parkway
            Overland, KS 66251-4300                                  0.00                 NA             NA            0.00


            Sterling Savings Bank PO
            Box 19246 Spokane, WA
            99219                                              130,000.00                 NA             NA            0.00


            Sterling Savings Bank PO
            Box 19246 Spokane, WA
            99219                                                    0.00                 NA             NA            0.00


            Sun Valley Animal Hospital
            Def Ben Plan 877 Left Fork
            Humburg Creek Rd
            Jacksonville, OR 97530                                   0.00                 NA             NA            0.00




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                                                              CLAIMS            CLAIMS
                                                 UNIFORM
                                                            SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                             (from Form      (from Proofs of     ALLOWED
                                                  CODE
                                                                 6F)             Claim)

            The Core Training, Inc. 18635
            Old Statesville Rd Cornelius,
            NC 28031                                                  0.00                 NA              NA            0.00


            US Bank PO Box 790401 St.
            Louis, MO 63179-0401                                      0.00                 NA              NA            0.00


            US Bank PO Box 790401 St.
            Louis, MO 63179-0401                                245,000.00                 NA              NA            0.00


            William Yohler and Anna
            Yohler, Trustees Yohler
            Living Trust Dated April 23,
            2009 877 Left Fork Humburg
            Creek Rd Jacksonville, OR
            97530                                                     0.00                 NA              NA            0.00


            AMERICAN EXPRESS
000011      BANK FSB                             7100-000        10,500.00            9,994.49       9,994.49          340.11


000004B     BANK OF THE CASCADES 7100-000                       447,000.00          85,901.20       85,901.20        2,923.20


000005      BANK OF THE CASCADES 7100-000                       250,000.00         239,635.05      239,635.05        8,154.71


000006B     BANK OF THE CASCADES 7100-000                              NA             9,073.08       9,073.08          308.75


000001      DISCOVER BANK                        7100-000        17,000.00          17,026.44       17,026.44          579.40


            ELAN FINANCIAL
000010      SERVICES                             7100-000        14,300.00          14,313.94       14,313.94          487.10


000012      FIA CARD SERVICES, N.A. 7100-000                     45,800.00          45,852.17       45,852.17        1,560.34




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                                                              CLAIMS             CLAIMS
                                                 UNIFORM
                                                            SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                            CLAIMS PAID
                                                             (from Form       (from Proofs of     ALLOWED
                                                  CODE
                                                                 6F)              Claim)

000002      KEYBANK N.A.                         7100-000       125,290.00           95,490.16        95,490.16         3,249.50


000007      MIDLAND FUNDING LLC                  7100-000          7,100.00            7,051.72        7,051.72           239.97


000008      MIDLAND FUNDING LLC                  7100-000          9,100.00            9,193.88        9,193.88           312.87


            SOUTHERN OR CREDIT
000014      SVC INC                              7100-000          2,400.00            2,275.97        2,275.97            77.45


000013      VERIZON WIRELESS                     7100-000            456.00              149.65          149.65              5.09


            ATLAS ACQUISITIONS
000015      LLC                                  7200-000               NA           11,855.24        11,855.24              0.00


000003B     BKCY, ODR                            7300-000          1,000.00                0.00             0.00             0.00

TOTAL GENERAL UNSECURED                                      $ 2,398,041.17       $ 547,812.99     $ 547,812.99       $ 18,238.49
CLAIMS




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                                       Case 12-61206-tmr7          Doc 119      Filed 09/08/15
                                                                                                 FORM 1
                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                  Page:      1
                                                                                              ASSET CASES                                                                                                    Exhibit 8
Case No:            12-61206       TMR     Judge: Thomas M. Renn                                                                       Trustee Name:                     Candace Amborn, Trustee
Case Name:          BEARD, JAMES K                                                                                                    Date Filed (f) or Converted (c):   03/27/12 (f)
                    BEARD, SUNSHINE M.                                                                                                341(a) Meeting Date:               04/23/12
For Period Ending: 08/18/15                                                                                                           Claims Bar Date:                   07/24/12



                                      1                                               2                          3                         4                         5                                 6
                                                                                                        Estimated Net Value
                                                                                  Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                                  Unscheduled          Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                         Values                and Other Costs)          OA=554(a) Abandon             the Estate

 1. 4501 CLOUDCREST - RESIDENCE 4501 CLOUDCREST DR MED                              325,000.00                             0.00           OA                                  0.00                  FA
     TV=RMV
     Noticed 5/7/12
 2. 210 1/2 S COLUMBUS - DUPLEX RENTAL 210 1/2 S COLUM                               95,000.00                             0.00           OA                                  0.00                  FA
     TV=RMV
     Noticed 5/7/12
 3. 1627 HIGHCREST - SINGLE FAMILY RESIDENCE RENTAL 16                              295,000.00                             0.00           OA                                  0.00                  FA
     TV=RMV
     Noticed 5/7/12
 4. 416 LAUREL - SINGLE FAMILY RESIDENCE RENTAL 416 LA                               65,000.00                             0.00           OA                                  0.00                  FA
     TV=RMV
     Noticed 5/7/12
 5. 335/335 1/2 2ND - DUPLEX 335/335 1/2 2ND MEDFORD,                               110,000.00                             0.00           OA                                  0.00                  FA
     TV=RMV
     Noticed 5/7/12
 6. 212 ELM ST - SINGLE FAMILY RESIDENTIAL RENTAL 212                                47,000.00                             0.00           OA                                  0.00                  FA
     TV=RMV
     Noticed 5/7/12
 7. CASH NOTE: AMOUNTS STATED REPRESENT VALUES AS OF                                  1,782.00                          982.00                                             982.00                   FA
     (o)
 8. UMPQUA BANK CHECKING ACCOUNT BRANCH: ROSEBURG,                                    1,650.00                        2,020.75                                           2,020.75                   FA
 OR
     n/e funds
 9. KEY BANK CHECKING ACCOUNT PO BOX 22114 ALBANY, NY                                     100.00                           0.00                                               0.00                  FA
     D/or atty states that account is owned by Trin Corp. and not the debtors.
     Second, the account number does not end in "5210" but ends with
     "8473". Trin Corp is listed as a Corporation with the sec of state.



LFORM1                                                                                                                                                                                                             Ver: 18.05
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                                                                          Case 12-61206-tmr7               Doc 119          Filed 09/08/15
                                                                                                    FORM 1
                                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                Page:      2
                                                                                                 ASSET CASES                                                                                                  Exhibit 8
Case No:            12-61206       TMR     Judge: Thomas M. Renn                                                                        Trustee Name:                     Candace Amborn, Trustee
Case Name:          BEARD, JAMES K                                                                                                     Date Filed (f) or Converted (c):   03/27/12 (f)
                    BEARD, SUNSHINE M.                                                                                                 341(a) Meeting Date:               04/23/12
                                                                                                                                       Claims Bar Date:                   07/24/12



                                      1                                                  2                        3                         4                         5                                 6
                                                                                                         Estimated Net Value
                                                                                     Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                                     Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                            Values              and Other Costs)          OA=554(a) Abandon             the Estate

 10. UMPQUA BANK CHECKING ACCOUNT BRANCH: ROSEBUERG,                                     1,253.00                      1,301.00                                           1,301.00                   FA
 O
 11. HOUSEHOLD GOODS                                                                    11,000.00                      6,400.00                                           6,400.00                   FA
     Auctioneer to get valuation. Values at $11,900
     Noticed 1/7/13
 12. BOOKS, PICTURES AND COLLECTIONS INCLUDES 20 BOTTLE                                  1,500.00                        240.00                                             240.00                   FA
     Auctioneer to get valuation. Values at $1,500 for wine, books, pictures.
     Noticed 1/7/13
 13. MEN'S CLOTHING                                                                      1,000.00                           0.00                                               0.00                  FA
 14. WOMAN'S CLOTHING                                                                    1,000.00                           0.00                                               0.00                  FA
 15. MEN'S JEWELRY 2 WATCHES, BRACELET, RING, CUFFLINKS                                  1,500.00                        560.00                                             560.00                   FA
     Auctioneer to get valuation. Values at $1500 for men's
     Noticed 1/7/13
 16. WOMAN'S JEWELRY WEDDING AND ENGAGEMENT RINGS,                                       3,000.00                      1,760.00                                           1,760.00                   FA
 NECK
     Auctioneer to get valuation. Values at $3,800 for women's.
     Noticed 1/7/13
 17. FIREARMS AND SPORTS EQUIPMENT SEVEN RIFLES AND SEV                                  4,175.00                      2,180.00                                           2,180.00                   FA
     Auctioneer to get valuation. Values at $5,000
     5/7/12 Obj to Claimed exemption to the extent that it exceeds $2000.
     Noticed 1/7/13
 18. $1,000,000 TERM LIFE INSURACE POLIGY POLICY NO. EN                                      0.00                           0.00                                               0.00                  FA
 19. RETIREMENT ACCOUNT 1 TRIN CORPORATION CUSTODIAN:                                  300,000.00                           0.00                                               0.00                  FA
 20. RETIREMENT ACCOUNT 2 SOUTH PACIFIC FINANCIAL ACCT                                   6,583.00                           0.00                                               0.00                  FA
 21. S & J PROPERTIES, LLC DEBTORS OWN 100% OF MEMBERSH                                      0.00                           0.00                                               0.00                  FA
 22. TRIN CORPORATION HUSBAND OWNS 99% OF STOCK; REAL P                                      0.00                           0.00                                               0.00                  FA
 23. RUNNING SALMON RV PARK, LLC DEBTOR AND SPOUSE ARE                                       0.00                           0.00                                               0.00                  FA



LFORM1                                                                                                                                                                                                              Ver: 18.05
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                                                                          Case 12-61206-tmr7                Doc 119          Filed 09/08/15
                                                                                       FORM 1
                                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                  Page:      3
                                                                                    ASSET CASES                                                                                                    Exhibit 8
Case No:            12-61206       TMR    Judge: Thomas M. Renn                                                              Trustee Name:                     Candace Amborn, Trustee
Case Name:          BEARD, JAMES K                                                                                          Date Filed (f) or Converted (c):   03/27/12 (f)
                    BEARD, SUNSHINE M.                                                                                      341(a) Meeting Date:               04/23/12
                                                                                                                            Claims Bar Date:                   07/24/12



                                      1                                     2                          3                         4                         5                                 6
                                                                                              Estimated Net Value
                                                                        Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                        Unscheduled          Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)               Values                and Other Costs)          OA=554(a) Abandon             the Estate

     NO EQUITY, THEY WRAPPED THE LOAN AND $0 IS OWED
     BEYOND UNDERLYING DEBT TO STERLING
 24. RIVERS EDGE, LLC DEBTOR AND SPOUSE ARE MEMBERS. EN                           0.00                           0.00                                               0.00                  FA
     Zillow value is $272k.; wrap deal; Sold for $250k in 1/11.
 25. PASS IT ON FOUNDATION NONPROFIT PUBLIC BENEFIT COR                           0.00                           0.00                                               0.00                  FA
     GIVES TO CHARITY THROUGH THIS NONPROFIT THEY
     CREATED SO IT COULD BE TAX DEDUCTIBLE
 26. INDEMNITY RIGHTS - YOHLER LIVING TRUST WILLIAM AND                     Unknown                              0.00                                               0.00                  FA
 27. INDEMNITY RIGHTS - FAMILY NUTRITION GROUP FAMILY N                     Unknown                              0.00                                               0.00                  FA
     WRAP, SOLD TO SISTER, MEG BEARD, FOR UNDERLYING
     LOAN (ABOUT $200K OWED) Funds received a spent prepetition
 28. 2010 CHEVROLET SILVERADO 1500 CREW CAB VALUE STATE                    34,040.00                             0.00                                               0.00                  FA
     Auctioneer to get valuation. Values at $34k.
 29. 2010 MERCEDES GL320 VALUE STATED IN TRADE-IN VALUE                    55,203.00                        2,195.20                                           2,195.20                   FA
     Auctioneer to get valuation. Values at $55k
     Noticed 1/7/13
 30. 2005 KAWASAKI 250 MOTORBIKE                                                500.00                        500.00                                             500.00                   FA
     Auctioneer to get valuation. Values at $650
     Noticed 1/7/13
 31. 1996 17' BAYLINER BOAT                                                 1,500.00                        1,800.00                                           1,800.00                   FA
     Auctioneer to get valuation. Values at $2200
     Noticed 1/7/13
 32. OFFICE EQUIPMENT 2 DESKS, FILE CABINETS, 2 COMPUTE                     2,500.00                             0.00                                               0.00                  FA
 33. TWO PERSIAN CATS                                                           200.00                           0.00                                               0.00                  FA
 34. UNPAID WAGES APPROXIMATE AMOUNT $10,000 AFTER                          Unknown                         1,416.50                                           1,406.50                   FA
 MAND




LFORM1                                                                                                                                                                                                   Ver: 18.05
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                                                                  Case 12-61206-tmr7             Doc 119          Filed 09/08/15
                                                                                                  FORM 1
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                             Page:       4
                                                                                               ASSET CASES                                                                                                               Exhibit 8
Case No:             12-61206       TMR     Judge: Thomas M. Renn                                                                               Trustee Name:                      Candace Amborn, Trustee
Case Name:           BEARD, JAMES K                                                                                                            Date Filed (f) or Converted (c):    03/27/12 (f)
                     BEARD, SUNSHINE M.                                                                                                        341(a) Meeting Date:                04/23/12
                                                                                                                                               Claims Bar Date:                    07/24/12



                                       1                                                    2                            3                          4                         5                                    6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                  Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by                Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

     H only.

                                                                                                                                                                                                  Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                     $1,365,486.00                         $21,355.45                                           $21,345.45                            $0.00
                                                                                                                                                                                                  (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   File amnd TDR when cks clr. 3/12/15 Funds returned by creditor-claim fully paid, do supplemental dist.


   Initial Projected Date of Final Report (TFR): 05/13/13           Current Projected Date of Final Report (TFR): 05/25/14




LFORM1                                                                                                                                                                                                                          Ver: 18.05
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                                                                            Case 12-61206-tmr7                     Doc 119           Filed 09/08/15
                                                                                                  FORM 2                                                                                          Page:     1
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit 9
  Case No:           12-61206 -TMR                                                                                                Trustee Name:                    Candace Amborn, Trustee
  Case Name:         BEARD, JAMES K                                                                                               Bank Name:                       ASSOCIATED BANK
                     BEARD, SUNSHINE M.                                                                                           Account Number / CD #:           *******5538 GENERAL CHECKING
  Taxpayer ID No:    *******8534
  For Period Ending: 08/18/15                                                                                                     Blanket Bond (per case limit):   $ 90,360,079.00
                                                                                                                                  Separate Bond (if applicable):


           1              2                             3                                                  4                                                  5                      6                7
    Transaction       Check or                                                                                                            Uniform                                                 Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction                 Tran. Code      Deposits ($)      Disbursements ($)       Balance ($)
                                                                                 BALANCE FORWARD                                                                                                                0.00
          02/21/13    * NOTE *    JAMES K BEARD                                  N/E FUNDS DUE (12 ASSETS)                               1129-000              21,345.45                                  21,345.45
                                  CASHIERS CHECK                                 * NOTE * Properties 7, 8, 10, 11, 12, 15, 16, 17, 29,
                                  4501 CLOUDCREST DR.                            30, 31, 34
                                  MEDFORD, OR 97504
          03/07/13                ASSOCIATED BANK                                BANK SERVICE FEE                                        2600-000                                        10.00            21,335.45
          03/21/13     010000     INTERNATIONAL SURETIES, LTD                    BOND PMT #016027975                                     2300-000                                        21.85            21,313.60
                                  SUITE 420
                                  701 POYDRAS STREET
                                  NEW ORLEANS, LA 70129
          04/05/13                ASSOCIATED BANK                                BANK SERVICE FEE                                        2600-000                                        31.71            21,281.89
          05/07/13                ASSOCIATED BANK                                BANK SERVICE FEE                                        2600-000                                        30.62            21,251.27
          06/07/13                ASSOCIATED BANK                                BANK SERVICE FEE                                        2600-000                                        31.59            21,219.68
          07/08/13                ASSOCIATED BANK                                BANK SERVICE FEE                                        2600-000                                        30.53            21,189.15
          08/07/13                ASSOCIATED BANK                                BANK SERVICE FEE                                        2600-000                                        31.50            21,157.65
          09/09/13                ASSOCIATED BANK                                BANK SERVICE FEE                                        2600-000                                        31.46            21,126.19
          10/07/13                ASSOCIATED BANK                                BANK SERVICE FEE                                        2600-000                                        30.40            21,095.79
          11/07/13                ASSOCIATED BANK                                BANK SERVICE FEE                                        2600-000                                        31.36            21,064.43
          12/06/13                ASSOCIATED BANK                                BANK SERVICE FEE                                        2600-000                                        30.31            21,034.12
          01/08/14                ASSOCIATED BANK                                BANK SERVICE FEE                                        2600-000                                        31.27            21,002.85
          02/07/14                ASSOCIATED BANK                                BANK SERVICE FEE                                        2600-000                                        31.23            20,971.62
          03/07/14                ASSOCIATED BANK                                BANK SERVICE FEE                                        2600-000                                        28.16            20,943.46
          03/10/14     010001     INTERNATIONAL SURETIES, LTD                    BOND #016027975 4/4/14-4/4/15                           2300-000                                        22.87            20,920.59
                                  SUITE 420
                                  701 POYDRAS STREET
                                  NEW ORLEANS, LA 70139
          04/07/14                ASSOCIATED BANK                                BANK SERVICE FEE                                        2600-000                                        31.12            20,889.47
          05/07/14                ASSOCIATED BANK                                BANK SERVICE FEE                                        2600-000                                        30.06            20,859.41
          06/06/14                ASSOCIATED BANK                                BANK SERVICE FEE                                        2600-000                                        31.01            20,828.40


                                                                                                                                  Page Subtotals               21,345.45                 517.05
                                                                                                                                                                                                           Ver: 18.05
LFORM24
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                                                                        Case 12-61206-tmr7           Doc 119           Filed 09/08/15
                                                                                                  FORM 2                                                                                            Page:     2
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit 9
  Case No:           12-61206 -TMR                                                                                              Trustee Name:                    Candace Amborn, Trustee
  Case Name:         BEARD, JAMES K                                                                                             Bank Name:                       ASSOCIATED BANK
                     BEARD, SUNSHINE M.                                                                                         Account Number / CD #:           *******5538 GENERAL CHECKING
  Taxpayer ID No:    *******8534
  For Period Ending: 08/18/15                                                                                                   Blanket Bond (per case limit):   $ 90,360,079.00
                                                                                                                                Separate Bond (if applicable):


           1              2                             3                                                  4                                                5                       6                   7
    Transaction       Check or                                                                                                         Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction             Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          08/04/14     010002     CANDACE AMBORN                                 Chapter 7 Compensation/Expense                                                                         2,899.05            17,929.35
                                  PO BOX 580
                                  MEDFORD, OR 97501-0214
                                                                                        Fees                   2,884.55               2100-000
                                                                                        Expenses                14.50                 2200-000
          08/04/14     010003     INTERNAL REVENUE SERVICE                       Claim 000009, Payment 55.37852%                      5800-000                                       17,929.35                    0.00
                                  PO BOX 7317                                    2011 INCOME TAX - ASSESSED
                                  PHILADELPHIA, PA 19101-7317

                                                                                                           COLUMN TOTALS                                     21,345.45               21,345.45                     0.00
                                                                                                               Less: Bank Transfers/CD's                          0.00                    0.00
                                                                                                           Subtotal                                          21,345.45               21,345.45
                                                                                                               Less: Payments to Debtors                                                  0.00
                                                                                                           Net
                                                                                                                                                             21,345.45               21,345.45




                                                                                                                                Page Subtotals                        0.00              20,828.40
                                                                                                                                                                                                             Ver: 18.05
LFORM24
          UST Form 101-7-TDR (10/1/2010) (Page: 18)
                                                                        Case 12-61206-tmr7          Doc 119               Filed 09/08/15
                                                                                                  FORM 2                                                                                       Page:     3
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:           12-61206 -TMR                                                                                          Trustee Name:                    Candace Amborn, Trustee
  Case Name:         BEARD, JAMES K                                                                                         Bank Name:                       ASSOCIATED BANK
                     BEARD, SUNSHINE M.                                                                                     Account Number / CD #:           *******4283 GENERAL CHECKING
  Taxpayer ID No:    *******8534
  For Period Ending: 08/18/15                                                                                               Blanket Bond (per case limit):   $ 90,360,079.00
                                                                                                                            Separate Bond (if applicable):


           1              2                             3                                                  4                                            5                      6                   7
    Transaction       Check or                                                                                                     Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)      Disbursements ($)          Balance ($)
                                                                                 BALANCE FORWARD                                                                                                             0.00
          03/12/15                UNITED STATES TREASURY                         refund of funds distributed to IRS               5800-000               18,238.49                                     18,238.49
          04/01/15     010000     DISCOVER BANK                                  Claim 000001, Payment 3.40294%                   7100-000                                          579.40             17,659.09
                                  DB SERVICING CORPORATION                       CC DEBT #5381
                                  PO BOX 3025
                                  NEW ALBANY, OH 43054-3025
          04/01/15     010001     KEYBANK N.A.                                   Claim 000002, Payment 3.40297%                   7100-000                                         3,249.50            14,409.59
                                  PO BOX 94968                                   Money Loaned xx4325
                                  CLEVELAND OH 44101
          04/01/15     010002     BANK OF THE CASCADES                           Claim 000004B, Payment 3.40298%                  7100-000                                         2,923.20            11,486.39
                                  1070 NW BOND ST SUITE 202                      676 SECOND AVE; ACCT #0570
                                  BEND, OR 97701
          04/01/15     010003     BANK OF THE CASCADES                           Claim 000005, Payment 3.40297%                   7100-000                                         8,154.71             3,331.68
                                  ATTN: DANETTE COLOVOS                          Money loaned XX0406
                                  1070 NW BOND ST SUITE 202
                                  BEND, OR 97701
          04/01/15     010004     BANK OF THE CASCADES                           Claim 000006B, Payment 3.40292%                  7100-000                                          308.75              3,022.93
                                  ATTN: DANETTE COLOVOS                          43-45 GARDEN ROW ACCT #1910
                                  1070 NW BOND ST SUITE 202
                                  BEND, OR 97701
          04/01/15     010005     GE CAPITAL RETAIL BANK                         Claim 000007, Payment 3.40300%                   7100-000                                          239.97              2,782.96
                                  C/O RECOVERY MGMT SYSTEMS CORP                 xx6508 LOWES CONSUMER OR GEMB
                                  25 SE 2ND AVE SUITE 1120
                                  MIAMI, FL 33131-1605
          04/01/15     010006     GE CAPITAL RETAIL BANK                         Claim 000008, Payment 3.40302%                   7100-000                                          312.87              2,470.09
                                  C/O RECOVERY MGMT SYSTEMS CORP                 (8-1) LOWE'S PROJECT CARD OR GEMB
                                  25 SE 2ND AVE, SUITE 1120                      XX3905
                                  MIAMI, FL 33131-1605
          04/01/15     010007     ELAN FINANCIAL SERVICES                        Claim 000010, Payment 3.40298%                   7100-000                                          487.10              1,982.99
                                  AS SERVICER FOR KEYBANK NA CONV NON            XX-6456 money loaned

                                                                                                                            Page Subtotals               18,238.49                 16,255.50
                                                                                                                                                                                                        Ver: 18.05
LFORM24
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                                                                        Case 12-61206-tmr7           Doc 119          Filed 09/08/15
                                                                                               FORM 2                                                                                        Page:    4
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:           12-61206 -TMR                                                                                       Trustee Name:                    Candace Amborn, Trustee
  Case Name:         BEARD, JAMES K                                                                                      Bank Name:                       ASSOCIATED BANK
                     BEARD, SUNSHINE M.                                                                                  Account Number / CD #:           *******4283 GENERAL CHECKING
  Taxpayer ID No:    *******8534
  For Period Ending: 08/18/15                                                                                            Blanket Bond (per case limit):   $ 90,360,079.00
                                                                                                                         Separate Bond (if applicable):


           1              2                              3                                              4                                            5                       6                   7
     Transaction      Check or                                                                                                  Uniform                                                      Account / CD
        Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  BANKRUPTCY DEPARTMENT
                                  P.O. BOX 5229
                                  CINCINNATI, OH 45201-5229
          04/01/15     010008     AMERICAN EXPRESS BANK FSB                      Claim 000011, Payment 3.40298%                7100-000                                           340.11             1,642.88
                                  C/O BECKET AND LEE LLP                         CC DEBT #2001
                                  POB 3001
                                  MALVERN PA 19355-0701
          04/01/15     010009     FIA CARD SERVICES, N.A. AS SUCCESSOR           Claim 000012, Payment 3.40298%                7100-000                                          1,560.34                 82.54
                                  IN INTEREST TO BANK OF AMERICA, N.A.           CC DEBT #1314; XX6790
                                  AND MBNA AMERICA BANK, N.A.
                                  PO BOX 15102
                                  WILMINGTON, DE 19886-5102
          04/01/15     010010     VERIZON WIRELESS                               Claim 000013, Payment 3.40127%                7100-000                                              5.09                 77.45
                                  PO BOX 3397                                    Services performed XX5465
                                  BLOOMINGTON, IL 61702
 *        04/01/15     010011     Southern Oregon Credit Svc Inc                 Claim 000014, Payment 3.40294%                7100-003                                            77.45                   0.00
                                  POB 4070                                       XX1635 Services
                                  Medford OR 97501
 *        07/23/15     010011     Southern Oregon Credit Svc Inc                 Claim 000014, Payment 3.40294%                7100-003                                            -77.45                 77.45
                                  POB 4070
                                  Medford OR 97501
          07/23/15     010012     Southern Oregon Credit Svc Inc                 Claim 000014, Payment 3.40294%                7100-000                                            77.45                   0.00
                                  POB 4070                                       XX1635 Services
                                  Medford OR 97501




                                                                                                                         Page Subtotals                        0.00               1,982.99
                                                                                                                                                                                                     Ver: 18.05
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                                                                        Case 12-61206-tmr7        Doc 119          Filed 09/08/15
                                                                                             FORM 2                                                                                                   Page:      5
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                    Exhibit 9
  Case No:           12-61206 -TMR                                                                                       Trustee Name:                       Candace Amborn, Trustee
  Case Name:         BEARD, JAMES K                                                                                      Bank Name:                          ASSOCIATED BANK
                     BEARD, SUNSHINE M.                                                                                  Account Number / CD #:              *******4283 GENERAL CHECKING
  Taxpayer ID No:    *******8534
  For Period Ending: 08/18/15                                                                                            Blanket Bond (per case limit):      $ 90,360,079.00
                                                                                                                         Separate Bond (if applicable):


          1               2                             3                                            4                                                 5                          6                         7
    Transaction       Check or                                                                                                  Uniform                                                               Account / CD
       Date           Reference               Paid To / Received From                    Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)

                                                                                                     COLUMN TOTALS                                      18,238.49                  18,238.49                          0.00
                                                                                                         Less: Bank Transfers/CD's                           0.00                       0.00
                                                                                                     Subtotal                                           18,238.49             18,238.49
                                                                                                         Less: Payments to Debtors                                                 0.00
                                                                                                     Net
                                                                                                                                                        18,238.49             18,238.49
                                                                                                                                                                             NET                             ACCOUNT
                                                                                                    TOTAL - ALL ACCOUNTS                       NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                                GENERAL CHECKING - ********5538                          21,345.45                   21,345.45                         0.00
                                                                                                GENERAL CHECKING - ********4283                          18,238.49                   18,238.49                         0.00
                                                                                                                                             ------------------------    ------------------------   ------------------------
                                                                                                                                                         39,583.94                   39,583.94                         0.00
                                                                                                                                             ==============             ==============              ==============
                                                                                                                                              (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                         Transfers)               To Debtors)                    On Hand




                                                                                                                         Page Subtotals                        0.00                        0.00
                                                                                                                                                                                                                Ver: 18.05
LFORM24
          UST Form 101-7-TDR (10/1/2010) (Page: 21)
                                                                        Case 12-61206-tmr7    Doc 119           Filed 09/08/15
